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                  UNITED STATES DISTRICT COURT
                   DISTRICT OF MASSACHUSETTS
____________________________________________

JANETTE HERNANDEX PAGAN, PPA,
FTH, a minor                                                        CA. 3:17-CV-30031-MGM

            Plaintiffs

v.

CITY OF HOLYOKE, A MUNICIPAL
CORPORATION, Officer THOMAS J. LEAHY,
Officer JAMES DUNN and Officer JABET LOPEZ,


         Defendants
____________________________________________



         PLAINTIFF’S ASSENTED TO MOTION FOR LEAVE TO FILE CERTAIN
     PLEADINGS/EXHIBITS AND ATTACHMENTS UNDER SEAL (GENERAL RELEASE)
                                  [LR 7.2]

            Now comes the Plaintiffs’ and submit it is necessary to file the General Release

     associated with the Plaintiffs’ Motion for Sanctions and to enforce payment of settlement

     agreement under seal in the interest of justice. In support thereof, Plaintiffs’ Counsel states:

        1) The General Release signed by Plaintiffs’ (which Plaintiffs’ enclose to enforce) has a

            confidentiality provision that expressly prohibits them from communicating to the public

            the facts of the settlement and the terms of the settlement of the subject legal action. See

            Ex. 3.

        2) If Plaintiffs’ were to attach the General Lease as an exhibit in PACER it would

            potentially result in a breach of said settlement agreement.

        3) Thus, plaintiff respectfully submits this motion for leave to submit the said discovery

            related pleadings under seal.
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       Plaintiff s’ respectfully requests that the impoundment order he seeks continue in effect

until further order of the Court, and he anticipates that upon the termination of this action or

previously, whether by agreement or by ruling of Court.

       WHEREFORE, plaintiff respectfully requests that the motion be allowed and that the

Court grant him leave to file the said attachment under seal.

                                                      Plaintiff, by his attorneys

                                                      /s Hector E. Pineiro
                                                      Hector E. Pineiro BBO#555315
                                                      Law Office of Hector E. Pineiro PC
                                                      807 Main Street
                                                      Worcester, MA 01610
                                                      508.770.0600

                                                      -and-
                                                      /s/ Jeanne A Liddy
                                                      __________________
                                                      Jeanne A Liddy
                                                      BBO#646478
                                                      Law Offices of Jeanne A Liddy
                                                      1380 Main St #404
                                                      Springfield, MA 01103
                                                      413.781.7096

                                                      370 Main St#1050
                                                      Worcester MA 01608
                                                      508.752.6733

DATED: December 20, 2019

                     CERTIFICATE OF LOCAL RULE 7.1 CONFERENCE

       I, Hector E. Pineiro, certify that I have conferred with counsel for the parties, and counsel
have agreed to assent to the within motion.

                                                      /s/ Hector E. Pineiro
                                                      Hector E. Pineiro
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                                  CERTIFICATE OF SERVICE

        I, Hector Pineiro, certify that the within motion, filed this 20th day of December 2019, via
the Court’s electronic filing system, has thereby been served on all registered participants, and
there are no unregistered participants.


                                              /s Hector Pineiro
                                              Hector Pineiro
